     Case 3:20-cr-00249-RS         Document 645-3       Filed 05/23/25   Page 1 of 2



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14   ROWLAND MARCUS ANDRADE

15
                                  UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19   UNITED STATES OF AMERICA,                          Case No. 3:20-CR-00249-RS
20                   Plaintiff,                         DEFENDANT MARCUS ANDRADE’S
                                                        [PROPOSED] ORDER FOR NEW
21         v.                                           TRIAL
22   ROWLAND MARCUS ANDRADE,                            Judge: Hon. Richard Seeborg
                                                        Hearing: June 17, 2025, 9:30 am
23                   Defendant.
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     DEFENDANT MARCUS ANDRADE’S [PROPOSED]                                CASE NO. 3:20-CR-00249-RS
     ORDER FOR NEW TRIAL
     Case 3:20-cr-00249-RS        Document 645-3         Filed 05/23/25    Page 2 of 2



 1          Based on Mr. Andrade’s Motion for a New Trial, and after full briefing,

 2          IT IS HEREBY ORDERED:

 3          Pursuant to Federal Rule of Criminal Procedure 33, the court vacates the jury verdicts on

 4   Counts One and Two and orders a new trial.

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     Date: _________________, 2025
 6                                                              HON. RICHARD SEEBORG
                                                                   United States Judge
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     DEFENDANT MARCUS ANDRADE’S [PROPOSED]                                  CASE NO. 3:20-CR-00249-RS
     ORDER FOR NEW TRIAL
